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                   United States Court of Appeals
                                 FIFTH CIRCUIT
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    No. 23-10326      Braidwood Mgmt v. Becerra
                      USDC No. 4:20-CV-283


Dear Counsel,
Pursuant to the court’s order the parties will adhere to the
following briefing schedule:
June 20, 2023   Government’s Opening Brief
June 27, 2023 Amicus briefs in support of the government

August 7, 2023 Plaintiffs’ principal and response brief

August 14, 2023 Amicus briefs in support of plaintiffs

September 29, 2023 Government’s response and reply brief

October 6, 2023 Amicus briefs in support of the government
(limited to issues raised by plaintiffs’ cross-appeal)
November 3, 2023 Plaintiffs’ reply brief
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                          Sincerely,
                          LYLE W. CAYCE, Clerk



                          By: _________________________
                          Melissa V. Mattingly, Deputy Clerk
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                            Case No. 23-10326




Braidwood Management, Incorporated; John Scott Kelley; Kelley
Orthodontics; Ashley Maxwell; Zach Maxwell; Joel Starnes,
                        Plaintiffs - Appellees/Cross-Appellants
Joel   Miller; Gregory Scheideman,
                        Plaintiffs - Cross-Appellants
v.
Xavier Becerra, Secretary, U.S. Department of Health and Human
Services, in his official capacity as Secretary of Health and
Human Services; United States of America; Janet Yellen,
Secretary, U.S. Department of Treasury, in her official capacity
as Secretary of the Treasury; Julie A. Su, Acting Secretary,
U.S. Department of Labor, in his official capacity as Secretary
of Labor,
                        Defendants - Appellants/Cross-Appellees
